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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO: 0:23-CV-60756-CMA

  BYRON HIRTZEL,

           Plaintiff,

  v.


  NATIONSTAR MORTGAGE LLC
  d/b/a MR. COOPER,

           Defendant.

  _____________________________________/

            NOTICE OF APPEARANCE AND INTERNAL CHANGE OF COUNSEL

       PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for Defendant

  NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER (Mr. Cooper) in place of Albert A.

  Zakarian. All parties are requested to serve copies of all motions, briefs, and orders of any kind

  upon undersigned counsel at the following e-mail addresses designated for service:


                                Primary e-mail: Alec.Hayes@Troutman.com

                             Secondary e-mail:shelia.williams@troutman.com




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                                                         TROUTMAN PEPPER HAMILTON
                                                         SANDERS LLP


  Dated:          March 29, 2024                     By: /s/ Alec P. Hayes, Esq.
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                                                         404-885-3316 Attorneys for
                                                         Defendant Mr. Cooper



                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 29, 2024, a true and correct copy was served via E-

  mail through the E-Filing Process this August 1, 2023, to: Jessica Kerr, Esq., The Advocacy Group,

  111      N.E.   1st   St.,   Fl.   8,   #8517,   Miami,   FL   33132;    jkerr@advocacypa.com;

  service@advocacypa.com (for Plaintiff).

                                                              /s/ Alec P. Hayes, Esq.
                                                              Attorney




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